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Jail U.S. DISTRICT COURT

-= NORTHERN DISTRICT OF TEXAS
FILED

 

 

 

IN THE UNITED STATES DISTRICT COURT AUG 1 2 2020
FOR THE NORTHERN DISTRICT OF TEXAS | CLERK, US DISTRICT COURT
FORT WORTH DIVISION By

 

 

 

Deputy

 

 

UNITED STATES OF AMERICA
v. no. 4AO-AMJ~ S20
CURTIS JASON NOAKES (01)
COMPLAINT
I, the undersigned Complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief:

On or about July 30, 2020, Curtis Jason Noakes, knowingly distributed
any child pornography by any means, including by computer, using any means and
facility of interstate and foreign commerce. Specifically, Noakes used the Internet
and a third party messaging application to distribute the following visual depiction
of a minor engaged in sexually explicit conduct:

 

File Identifier File Description

 

 

[redacted]feal25d4ec This video file depicts a nude adult female, a nude
adult male and a nude toddler aged minor child. The
adult female is holding the minor child face down with
the child’s head positioned towards the adult female
and the child’s buttocks are towards the adult male.
The adult female manipulates the buttocks of the minor
child to expose the child’s anus towards the adult male.
The erect penis of the adult male penetrates the anus of
the child. Sound is available on the video file and the
child can be heard whimpering and then crying as the
adult male penetrates the child’s anus with his penis.

 

 

 

In violation of 18 U.S.C. § 2252A(a)(2)(A).

I further state that I am a Special Agent with the Federal Bureau of Investigation
(FBI) and that this complaint is based on the following facts gathered through my

investigation:

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INTRODUCTION

l, I am a Special Agent with the Federal Bureau of Investigation (FBI), and I
have been employed in this capacity since October 2003. I am currently assigned to the
Dallas Division of the FBI. As a federal agent, my duties include, but are not limited to,
the investigation and enforcement of Titles 18, 21 and 31 of the United States Code
(U.S.C.). I am an “investigative or law enforcement officer of the United States” within
the definition in 18 U.S.C. § 2510(7), in that I am an agent of the United States
authorized by law to conduct investigations of, and make arrests for, federal offenses.

2. I am currently assigned to a Crimes Against Children and Human
Trafficking Task Force, wherein my duties and responsibilities include investigating
criminal violations relating to the sexual exploitation of children, such as the illegal
production, transportation, distribution, receipt, and possession of child pornography, in
violation of 18 U.S.C. §§ 2251, 2252, and 2252A. I have investigated these violations
since 2013 and have gained expertise in these types of investigations through training in
seminars, classes, and my everyday work.

3. In addition, I have received specialized training in the investigation and
enforcement of federal child pornography laws and have had the opportunity to observe
and review numerous examples of child pornography (as defined in 18 U.S.C. §2256) in
all forms of media, including computer media. I have been involved in numerous child
pornography investigations and am very familiar with the tactics used by child

pornography offenders who collect and distribute child pornographic material.

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4, The statements contained in this affidavit are based on information
provided by FBI Special Agents; written reports about this and other investigations that I
have received, directly or indirectly, from other law enforcement agents; information
gathered from the service of administrative subpoenas; the results of physical and
electronic surveillance conducted by law enforcement agents; independent investigation
and analysis by FBI agents/analysts and computer forensic professionals; and my
experience, training and background as a Special Agent with the FBI.

5. This affidavit is submitted in support of a criminal complaint charging
Curtis Jason Noakes, with violating 18 U.S.C. § 2252A(a)(2)(A), Distribution of
Child Pornography. There is probable cause to believe that beginning on or about July
30, 2020, in the Northern District of Texas, Curtis Jason Noakes committed the
offense of distributing child pornography, in violation of 18 U.S.C. § 2252A(a)(2)(A).

OVERVIEW OF INVESTIGATION
A. Background of Investigation

6. On or about July 21, 2020, at approximately 3:11 PM Central Time’,

SA Jennifer Mullican, who is certified to act online in an undercover capacity

(hereafter “Undercover Agent”), joined the Kik Messenger? (hereinafter, “Kik’)

 

' All times referenced hereafter are stated as Central Time.

2 Kik Messenger is a free instant messaging mobile application designed and previously owned by
Kik Interactive, Inc., which was recently purchased in or around October 2019 by MediaLab, Inc., a
U.S. based Technology Company headquartered in California. Kik Messenger uses the Internet to
allow users to send and receive instant messages, photos and videos.

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group referred in this affidavit as “Group A.”? There were 49 members of Group A,
and upon joining, the Ragebot* posted a welcome message that read:

“There’s 49 people here, removing the last active member from #Group

A. [The Ragebot removed a member from the group.] Welcome to my

Tabu group anything goes in this group. Rules: 1. No pm [private

message] without asking 2. State ASL [Age, Sex, Location] and what

you are into 3. You need to have a profile picture 4. Don’t be Rude 5.

Respect others’ tabu 6. Stay Active and post as non-active ones for 4 or

more days will be kicked out 7. You may share anything you like. If

someone disobeys these rules insta(sic) booted. If you are good with all

of this and did it all say “I love tabu.”

7. Although spelled slang as “tabu” instead of “taboo,” based on my
training and experience, I am aware that “taboo” in this context is a term for incest or
family sex involving children.

8. Immediately upon entering the group, Undercover Agent posted her
information as the rules directed. In response, Undercover Agent was greeted by
other members with some asking various questions and other users stating they hoped
Undercover Agent was a mother. Undercover Agent monitored the content of the
room and observed image and video files depicting child pornography being shared

by various members of the group. Also, Undercover Agent observed members

posting their “tabu” interests of “incest,” “young,” and “mom daughter.”

 

3 The actual name of the group is known to investigators; however the group name has been redacted
due to other ongoing investigations.

‘ A Ragebot is an administrative feature of Kik that was created for making group management
easier. This feature removes spam bots that join public groups and can be evolved for other functions
such as logging member activity and posting rules for users upon entering the group.

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9. Later the same day, one of the group creators, hereinafter “D.A.”°, told
other group members that if Undercover Agent verified with her then Undercover
Agent would be promoted to an “admin,” or one of multiple group administrators. A
group administrator can promote other group members to administrative rolls, can set
functions of the Ragebot in the group and can ban members from the group for
violating rules. Undercover Agent did not immediately respond to the message and
continued to monitor the room activity. Undercover Agent observed members posting
their “tabu” interests of “incest,” “young,” and “mom daughter.”

10. The next morning, July 22, 2020, upon verifying as requested by a
group “admin,” Undercover Agent herself was promoted to an “admin” for the group.
Undercover Agent continued monitoring the communications within the group and
observed that one user specifically asked if anyone had “CP,” and when prompted,
this member confirmed that “CP” meant “child porn.”

11. Over the next week, Undercover Agent continued to monitor the room
taking screen captures of communications when another member either shared a child
pornography image or video file or when members discussed their specific interest in
sex acts with minors in their family or other children in general. Undercover Agent
downloaded the image or video files shared to an undercover cellular device. For
further legal process, Undercover Agent documented the Kik username of the member

who shared the files depicting child pornography.

 

5 This Kik Username is known to Your Affiant, however the name is being redacted to protect the
identity of a possible minor and due to ongoing investigative activity. ,
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B. Criminal activity conducted by Kik user “ddbigmeat”

12. Thereafter, on or about July 28, 2020, at approximately 11:21 AM, Kik
user “ddbigmeat” (hereinafter “DD”) joined the group chat and identified himself as a
27-year-old male living in Texas. The profile picture depicted a shirtless adult male
whose back was to the camera who appears to be taking the photo in a mirror. Less
than two hours after joining the group, DD commented “very nice” and then, “dang I
can’t post yet,” following a post by another member of a video file that depicted a
minor female wearing only black lace pantyhose and a strap-on sexual device
engaging in a sex act with an adult female who was nude from the waist down.

13. Undercover Agent previously observed other members post that they
were in “Kik Jail” upon entering the group chat. This references another feature of
the Ragebot which prevents new group members from posting image and video files
in the group for a designated amount of time. In this group, the time limit was
approximately twelve hours, Undercover Agent also noted that the Ragebot would
post the message, “If you would like to share but still in Kik jail send to an admin
they will share it for you ANYTHING GOES.”

14. Immediately after DD posted the message that he was unable to share
files, “D.A.” posted “Share,” and the Ragebot message above posted to the group.
D.A. then added, “so can send to me lol.” Within minutes, DD posted, “Sent (smiling
emoji).” Almost instantly, D.A. sent a series of messages with each message post

either an image or video file depicting child pornography.

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D.A. added, “someone is sharing that lol,” followed by, “Idk (I don’t know) who it
is.” The files shared by D.A. depicted child pornography files involving infant and
toddler aged females.

15. Messaging continued in the group throughout the evening into the next
day, July 29, 2020. Although few files depicting child pornography were posted to
the group, throughout the day the conversations continued to be sexual in nature and
focused on sexual acts involving minors.

16. The following day, on or about July 30, 2020, Undercover Agent
observed DD post a series of image files of child pornography depicting toddler aged
females. These images appeared similar to the images shared by D.A. to the group
from an “unknown member.” Undercover Agent scrolled back through the group chat
in an attempt to identify DD and capture screenshots to document his group activity.

17. Upon review of the group communications from prior days, Undercover
Agent noted that DD had previously requested to chat with Undercover Agent via
private message, however Undercover Agent had missed these requests. Knowing
that DD had been posting in the group earlier, Undercover Agent then posted to the
group the message, “happy wet Wednesday my friends (laughing emoji)” to see if DD

would again initiate a private conversation.

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18. | Others in the group responded in greetings to Undercover Agent and
one member posted it was only Tuesday where he lived. The member asked if
Undercover Agent resided in Australia and Undercover Agent responded that she
lived in Texas. DD responded to the group, “ooh me too (smiling emoji).”
Undercover Agent added she lived in Dallas and asked specifically where DD resided.
DD stated that he lived in “Fort Worth.” DD again asked in the group, “[Undercover
Agent®], can I pm you?” Undercover Agent responded, “Sure DB(sic) but just got to
work so my bosses are around.”

19. Within minutes, on or about July 30, 2020, at approximately 9:15 AM,
Undercover Agent received a private message from DD stating, “finally get the
chance to talk to you (emoji with tongue sticking out),” then added, “so what’s your
fav taboo?” Undercover Agent responded that her taboo was young, then added, “not
as yng as those pics u post lol.” DD asked if Undercover Agent preferred boys or
girls and inquired of her favorite ages. Undercover Agent indicated her preference
was for girls between the ages of eight and eleven.

20. Continuing, DD expressed his appreciation for the age range and asked,
“would u lick my cum from a tight 8yo pussy?” Undercover Agent said she would
not, as she would be first to be “in that” before DD “made it messy.” DD asked if
Undercover Agent would let him engage with her sexually and Undercover Agent

advised, “nope, I don’t do dick sorry only lil dolls for me.”

 

8 Your Affiant’s Undercover Username has been redacted due to on-going investigations.
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In clarification, DD asked if Undercover Agent would “lick a cute lil toddler if u had
the chance?” Undercover Agent specified she would prefer someone who could
reciprocate a little and DD replied, “you’d be surprised out of what u could get from a
slutty lil toddler (winking emoji).”

21. After sending the above message, DD then shared two image files
depicting child pornography involving a minor female, estimated to be three or four-
years in age, who is nude in both images but is wearing a spiked, black dog collar in
another image. In one image the minor female is in close proximity to an adult
female who is holding a red sexual device at her genitals and the sexual device is
penetrating the mouth of the minor female. In the second image, the minor female
has one hand inserted in the exposed vagina of a nude adult female.

22. Inresponse to Undercover Agent messaging that she thought the images
were “hot,” DD offered to send more, stating, “I have lots of those girls. Want more?”
Undercover Agent told DD to send whatever files he wished and described he was
getting her “worked up” while she was at work. DD responded by sending four
additional image files depicting child pornography.

23. | To determine whether DD had access to minor children, Undercover
Agent asked, “u active?” DD shared another image, depicting a nude minor female
whose genitals are being penetrated by the erect penis of an adult male, and stated,
“not at the moment but I wishhh(sic).” DD asked the same of Undercover Agent,

who responded, “my dau ain’t into me no more (crying emoji).”

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DD then sent a series of messages containing image files depicting a minor female
who is nude except for a black fishnet pantyhose whose genitals are being penetrated
by a red sexual device being held by an adult female.

24. As the conversation continued, DD sent four image files depicting a
nude adult female who is holding a nude toddler. In some of the images the tongue of
the adult female is in close proximity to the anus and genitals of the nude toddler. DD
also sent a series of messages containing image files depicting a nude adult female
and a nude minor female. Some images depict the minor female’s genitals exposed
towards the camera in lewd and lascivious manner and other images depict the
genitals of a minor female being digitally penetrated. Undercover Agent responded
that she was getting “hot” from viewing the image files and then asked DD his age of
preference. DD replied, “2-6.”

25. The word “camera” could be observed below some of the images sent
by DD. Based upon your Affiant’s experience utilizing the Kik Messenger
application, the word “camera” denoted at the bottom of an image file sent in a
message means that image was captured “live” using the camera within the Kik
application and was not an image selected and shared from the user’s phone gallery.
However, though DD was sharing images denoted with the “live” caption, your

Affiant had previously observed some of these images in other investigations.

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26. As the conversation continued into the mid-morning hours of July 30,

females. For example, at approximately 11:20 AM, DD explained:

 

 

 

 

 

 

 

From Message

DD My fantasy is to lick a baby girl while her mommy is
breast feeding her. Maybe even rub my cock over her
puffy slit too.

Undercover Agent Fuck...u got my mind racing never thought like tht(sic)
when I was wit(sic) my girl.

DD Aweee I wish u did and u could have soo much fun.

Undercover Agent Yeah but tht(sic) the worst when she’s no longer
interested.

DD Yea I feel u but you could always babysit (winking emoji)

 

 

 

2020, DD turned the conversation to hands on sexual offenses involving minor
27. Thereafter, DD shared two additional image files depicting the lewd and

lascivious display of the genitals of an infant female. These images did not have the

word “camera” displayed beneath the file. On the same day and over the next few

hours, DD and Undercover Agent exchanged a number of messages, during which,

DD continued to detail his sexual interest in minor females. DD also shared a video

file depicting a toddler aged female whose genitals are being penetrated by the erect

penis of an adult male. In the video sent, media control buttons could be observed at

the bottom of the video.

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28. Onor about July 30, 2020, between 2:21 PM and 2:57 PM, DD shared
two image files and one video file depicting child pornography. The video file is

approximately thirty-two seconds in length and is further described below:

 

File Identifier File Description

 

 

[redacted]feal25d4ec This video file depicts a nude adult female, a nude
adult male and a nude toddler aged minor child. The
adult female is holding the minor child face down with
the child’s head positioned towards the adult female
and the child’s buttocks are towards the adult male.
The adult female manipulates the buttocks of the minor
child to expose the child’s anus towards the adult male.
The erect penis of the adult male penetrates the anus of
the child. Sound is available on the video file and the
child can be heard whimpering and then crying as the
adult male penetrates the child’s anus with his penis.

 

 

Based on my training and experience, this video file constitutes child pornography, as

defined by 18 U.S.C. § 2256.

29. While they discussed the video, DD stated, “mhmm I’m already in bed
enjoying (tongue sticking out emoji).” Approximately two hours later, DD shared a
twelve-second video file depicting an adult male masturbating while lying on a bed.
The video recording is toggling between a video file depicting child pornography that
can be observed playing on a laptop computer located on a bed and the adult male.
Undercover Agent asked if that was DD “enjoying the video” and DD confirmed it
was him depicted in the video. The laptop computer in the video appeared to have the
same media controls at the bottom of the video as observed in other video files

depicting child pornography shared by DD with Undercover Agent.

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30. Communication between Undercover Agent and DD continued into the
early evening hours on July 30, 2020, and randomly thereafter to on or about August
11, 2020.

C. Identifying Kik User “ddbigmeat”

31. | Based upon the numerous image and video files depicting child
pornography sent by DD to Undercover Agent via Kik Messenger, Undercover Agent
consulted with forensically trained law enforcement partners to determine how to
identify this Kik user. Previous legal process submitted to Kik Interactive,
Inc/MediaLab, Inc., occasionally resulted in subject accounts being prematurely
deactivated before the investigation was concluded, thus limiting the ability of law
enforcement to identify the user(s).

32. Plano Police Detective and FBI Task Force Officer (TFO) Jeff Rich
utilized a publicly available website to create an intentionally broken link that
Undercover Agent shared with DD. During a conversation with DD, Undercover
Agent shared the link, advising that one of her friends had shared a link of “good
stuff’ but that the Undercover Agent was not in a place to open the link. DD asked if
the link was a scam and Undercover Agent messaged that her friend maintained the
link had “good files.” DD messaged that when he clicked on the link it said the image
does not exist. Undercover Agent expressed she was not good with technical matters

and that she would ask her friend to send the link again.

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33. As background, when computers communicate across the Internet, each
computer is required to have a publicly available Internet Protocol Address (IP
Address) to enable the computers to send/receive data. TFO Rich used
[redacted].link’, a publicly available link tracker service, to create the link
Undercover Agent shared with DD. [Redacted].link is a website that reveals the
shared IP Address of the user when that user clicks on a link to obtain data filtered
through their site.

34. Further, Picpasteplus.com, (hereinafter, “Picpasteplus”), is a commonly
used temporary Internet-based, file-hosting service known to law enforcement to be
utilized by individuals who wish to share and transmit digital files via the Internet.
Once a file is uploaded to Picpasteplus, the website provides a link to the temporary
hosted file. In this instance, the link was
https://www.picpasteplus.com/v.php?i=ec92855942 and the file “shared” was an
intentionally corrupt file. This file is designated as an image file, but the file is not a
valid digital media file. The file in this case was intentionally named de_1208 jpg.

35. | TFO Rich provided the [redacted].link service the “broken”
Picpasteplus URL listed above and [redacted].link then created a forwarding link to

the original file hosted on Picpasteplus.

 

7 A common use for [redacted].link and similar publicly available tracking websites is for
businesses and analysts to review traffic to websites and referring pages to build their
business.

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As Internet traffic from any user who clicked the link is passed through the
[redacted].link website, on the way to the Picpasteplus site, the shared IP Address
information of the user is displayed on the [redacted].link website.

36. Onor about July 30, 2020, at approximately 3:16 PM, in response to
DD clicking on the link sent to him by Undercover Agent, the IP Address captured by
[redacted].link was 47.24.105.58.

37. Subsequently, on or about July 30, 2020, TFO Rich issued an
administrative subpoena to Charter/Spectrum Communications to identify the
individual assigned to IP address 47.24.105.58 on July 30, 2020, between 3:15 PM
and 3:21 PM CST. On August 3, 2020, a representative of Charter/Spectrum
Communications responded to the request for records and provided information that
during the date and times requested, IP Address 47.24.105.58 was assigned to an
account registered to the following individual:

Subscriber Name: Curtis Noakes

Subscriber Address: 6308 Skipper Lane, Fort Worth, TX 76179

Lease Info: Start: 02/25/2020 End: 07/29/2020

Phone: [redacted]-6096

Email: cnoakes@charter.net

38. Upon receipt of the above records, you Affiant noted the lease ended on
July 29, 2020, and did not cover the date and times requested in the administrative

subpoena. On August 4, 2020, TFO Rich contacted Charter/Spectrum

Communications to inquire about the discrepancy in records requested.

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On August 5, 2020, a representative from Charter/Spectrum Communications
responded, advising their system updates 24-hours behind and that the subscriber
information previously provided also had the IP address on July 30, 2020.

39. Also, when DD/Noakes joined the group and as he posted in other
message strings, he identified himself as a 27-year-old white male living in Fort
Worth. Database records were obtained on Curtis Noakes and, as Noakes’s date of
birth is [redacted] 1993, Noakes recently turned 27-years-old.

D. Search Warrant Execution and Arrest of DD/Noakes

40. Based on the foregoing, your Affiant applied for a search warrant for
Noakes’s residence in Fort Worth, Tarrant County, Texas, within the Northern
District of Texas. On August 10, 2020, the Honorable Jeffrey L. Cureton, United
States Magistrate Judge for the Northern District of Texas authorized a federal search
warrant for that address/location. On August 12, 2020, your Affiant and other
members of law enforcement executed the federal search warrant at Noakes’s
residence. Noakes and one other occupant were present at the premises when the
search warrant was executed.

41. | While the residence was being searched, Noakes was advised of his
Miranda rights. The interview of Noakes was audio and video recorded. Noakes
admitted to having a Kik Messenger account, however he could not recall his
username or the profile image for his account. Noakes advised he last used the

account approximately one week ago.

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42. During the subsequent conversation, Noakes was shown screenshots of
the group and the profile picture for DD. Noakes refused to acknowledge if he was
familiar with the group or with the profile picture for the DD account.

43, Concurrent with your Affiant’s interview of Noakes, law enforcement
conducted an on-scene manual review of Noakes’ Motorola cell phone after your
Affiant guessed the passcode to the device. Your affiant observed a video file
depicting a nude toddler-aged female sitting on the lap of an adult male who is nude
from the waist down. The erect penis of the adult male is penetrating the genitals of
the minor female. The file, which was visible in the Kik Messenger application of the
phone, was sent to D.A. the same person who made Undercover Agent a moderator in
the Kik Group where Noakes initiated contact with Undercover Agent. °

44. Based on my training and experience, the above video file constitutes
child pornography, as defined by 18 U.S.C. 2256(8). In reviewing other files on
Noakes’ Motorola cell phone, I observed a number of image and videos files
depicting the sexual exploitation of children in Kik communications between Noakes
and other Kik users. The video file described in paragraph 43 is one of the same video
files that Noakes sent to Undercover Agent.

45. Iam aware that the Internet is a means and facility of interstate and
foreign commerce. I am also aware that third party messenger applications, such as
Kik, utilize the Internet, a means and facility of interstate commerce, to send and

receive messages, images, and videos.

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CONCLUSION

46. Based upon the aforementioned facts, your Affiant respectfully submits
there is probable cause to believe that on or about July 30, 2020, in the Northern
District of Texas, Curtis Jason Noakes, knowingly used the Internet and a third party
messaging application to commit the offense of Distribution of Child Pornography, in
violation. of 18 U.S.C. § 2252A(a)(2)(A).

47, Inconsideration of the above, I respectfully request the Court issue a

warrant authorizing the arrest of Curtis Jason Noakes.

( \gnlAL

Jennifef Mullican
Special\A gent
FedetayBureau of Investigation

Subscribed and sworn to before me the (2 day.of August 2020, at
/° $e _ p.m, in Fort Worth, Texas.

    
  

  

° TON
es Magistrate Judge

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